                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION


UNITED STATES OF AMERICA,                          )
                                                   )
                     Plaintiff,                    )
                                                   )   Criminal Action No.
       v.                                          )   18-00293-02/04/06/09/10-CR-W-DGK
                                                   )
TREVOR SCOTT SPARKS, GLORIA MAY                    )
JONES, LESLIE LADON WALKER,                        )
STEPHANIE THURMOND, LEANNA                         )
MICHELLE SCHROEDER,                                )
                                                   )
                     Defendants.                   )


                           SCHEDULING AND TRIAL ORDER

                            I. SCHEDULING CONFERENCE

       Present for a scheduling conference on January 7, 2019 were defendants Sparks, Jones,

Walker, Thurmond, and Schroeder, and their counsel, Joseph Vanover (02), Jane Francis (04),

Lisa Nouri (06), John Jenab (09) and Cynthia Dodge (10), and counsel for the government,

Bruce Rhoades. The following matters were discussed at the scheduling conference:

       A.     DISCOVERY

              Defendants have prior convictions.
              The Government has incriminating statements of defendant.
              Evidence was obtained by search and seizure incident to state and federal search
                     warrants and consents.
              There is electronic surveillance.
              There were identification proceedings, use of lineups or photographs.
              There are informants.
              There have been inducements to witnesses.
              There will be expert witnesses regarding firearms, drug trafficking and testing,
                     DNA, fingerprints, autopsy, homicide investigations, arson and financial
                     investigations.
              There is Brady or Giglio material.




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       B.      DEFENSES

               Defendant does anticipate a competency motion.
               Defendant does anticipate relying on a defense of insanity or diminished mental
               responsibility, and does plan on filing motions under Rule 12.2 of the Federal
               Rules of Criminal Procedure.
               Defendant does anticipate an alibi defense.
               Defendant is relying on the defense of general denial.

       C.      RELEVANT OFFENSE CONDUCT

               There is relevant offense conduct.
               There is Rule 404(b) material.

       D.      JENCKS ACT

               Counsel for the government and defendants agreed to voluntarily provide Jencks
               Act material at least 14 days prior to trial.

       E.      DISCOVERY REQUESTED

               This proceeding constitutes a specific request by the defense and the government
               for all information covered by this proceeding. In addition, during the
               conference, defense counsel requested all discovery to which defendant may be
               entitled pursuant to the Federal Rules of Criminal Procedure, the Federal Rules of
               Evidence and the United States Constitution. The government requested
               reciprocal discovery to which it is entitled pursuant to the Federal Rules of
               Criminal Procedure, the Federal Rules of Evidence and the United States
               Constitution.

                                     II. TRIAL SETTING

       Defense counsel filed a motion requesting continuance of the trial setting. As a result of

the parties= discussion at the conference and a motion filed by defense counsel, the case is set for

trial on the Joint Criminal Jury Trial Docket commencing on June 10, 2019.

       The Speedy Trial Act of 1974, as amended, mandates the commencement of the trial of a

defendant within seventy days from the defendant=s first appearance before a judicial officer of

the court in which the charge is pending. In computing the seventy-day time period, the periods

of delay set forth in 18 U.S.C. ' 3161(h) are to be excluded. Any period of delay resulting from




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a continuance granted at the request of a defendant is excludable if the Court finds the ends of

justice served by the taking of such action outweigh the best interests of the public and the

defendants in a speedy trial, provided the Court sets forth the reason for such finding. See 18

U.S.C. ' 3161(h)(7)(A).

       Given the reasons set forth in the motion for continuance and the parties= discussion at the

scheduling conference, the Court finds that it would be unreasonable to expect defense counsel

to prepare this case adequately for trial prior to June 10, 2019, and that failure to grant a

continuance would deny defense counsel the reasonable time necessary for effective preparation

and, thus, would deny the defendant his right to effective assistance of counsel. The Court finds

that the ends of justice served by granting a continuance outweigh the best interests of the public

and the defendant in a speedy trial.

       Based on the foregoing, defendants join in defendant Ginnings’Motion for Continuance

filed on November 14, 2018, (Doc. No. 15. This case is removed from the joint criminal jury

trial docket which commences January 7, 2019, and is set for trial on the joint criminal jury trial

docket which commences June 10, 2019. Pursuant to 18 U.S.C. ' 3161(h), the time between the

date of this Order and June 10, 2019, shall be excluded in computing the time within which this

trial must commence.

       In order to ensure that this case is ready for trial as scheduled, the following time

schedule for discovery and pretrial filings is established:

       PLEASE NOTE: Even though a party may have indicated at the scheduling
       conference that it did not possess a particular category of documents or evidence,
       any evidence that comes within a party=s possession or control or the existence of
       which is known or by the exercise of due diligence may become known to counsel
       must be produced in accordance with the Court=s Scheduling Order.


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               III.   DISCOVERY PROVIDED BY THE GOVERNMENT

       Within 14 days from the date of this Order, the government shall disclose or make

available for inspection, copying or photographing to defense counsel, the following

information within the possession, custody and control of the government or the existence of

which is known or by the exercise of due diligence may become known to the attorney for the

government:

       A.     CONVICTIONS

              1.      A copy of the prior criminal record of the defendant, if any, which is
                      within the possession, custody, or control of the government, the existence
                      of which is known, or by the exercise of due diligence may become
                      known, to the attorney for the government.

              2.      A written list of the defendant=s prior felony convictions which the
                      government intends to use for impeachment.

       B.     STATEMENTS

              1.      Any written or recorded statement, or copy thereof, made by the defendant
                      which is within the possession, custody, or control of the government, the
                      existence of which is known, or by the exercise of due diligence may
                      become known, to the attorney for the government.

              2.      The substance of any oral statement made by the defendant whether before
                      or after arrest, to an attorney for the government, a Federal agent, or any
                      other law enforcement officer.

              3.      The recorded testimony of the defendant before a Grand Jury which
                      relates to the offense charged.

       C.     OTHER DISCOVERY

              1.      Any books, papers, documents, photographs, tangible objects, buildings or
                      places, or copies or portions thereof, which are within the possession,
                      custody or control of the government and which are material to the
                      preparation of the defendant=s defense or are intended for use by the
                      government as evidence in chief at the trial, or were obtained from or
                      belong to the defendant.

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    2.    Any results or reports of physical or mental examinations, and of scientific
          tests or experiments, or copies thereof, which are within the possession,
          custody or control of the government, the existence of which is known, or
          by the exercise of due diligence may become known, to the attorney for
          the government, and which are material to the preparation of the defense
          or are intended for use by the government as evidence in chief at the trial.


          D.     EVIDENCE ARGUABLY SUBJECT TO SUPPRESSION

    1.    Identify and provide a list of the physical or tangible evidence seized
          pursuant to a state or federal search warrant, consent of the defendant or of
          some other person or incident to the arrest of the defendant and as to each
          item described and identified provide the following:

          a.     The location from which the evidence was seized;
          b.     The date and time of the search and seizure;
          c.     The name and address of the person(s) making the seizure;
          d.     The name and address of any witness(es) to the seizures; and
          e.     In lieu of items (a)-(d), the government can provide all reports
                 relating to any search and seizures within its possession, custody,
                 and control, the existence of which is known or by the exercise of
                 due diligence may become known to the attorney for the
                 Government.

    2.    Identify and list by date all electronic surveillance including any court
          ordered interceptions of oral or wire communications, consensual
          recordings of telephone conversations, body recorders, wiretaps, pen
          registers or trap and trace devices, video cameras, or bank surveillance
          cameras and provide the following:

          a.     A description of the type of electronic surveillance;
          b.     The location of the electronic surveillance;
          c.     The date and time of the surveillance;
          d.     Copies and transcripts of any recorded conversations;
          e.     All videotape, including bank surveillance tapes; and
          f.     All logs, notes, reports or other material relating to the electronic
                 surveillance.

    3.    Disclosure of any identification procedure that has been used either by
          way of lineups or photographic or voice identification and for each such
          procedure provide the following information:


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                      a.      The name and address of each identification witness;
                      b.      The method of identification;
                      c.      The specific items used in the identification procedure, i.e.
                              photographs, tape recordings, etc.;
                      d.      The date and location of the identification procedure;
                      e.      The results of the identification procedure; and
                      f.      Notes, memorandum, reports and records regarding the
                              identification procedure.


                    IV. DISCOVERY PROVIDED BY THE DEFENDANT

       A.      DOCUMENTS / REPORTS/ TESTS

       Upon compliance with the government=s discovery obligations under sections III.C.1. or

III.C.2. above, the defendant shall permit the government to inspect, copy or photograph the

following categories of material:

               1.     Any books, papers, documents, photographs, tangible objects, or copies or
                      portions thereof, which are within the possession, custody, or control of
                      the defendant and which the defendant intends to introduce as evidence in
                      chief at the trial.

               2.     Any results or reports of physical or mental examinations and of scientific
                      tests or experiments made in connection with the particular case, or copies
                      thereof, within the possession or control of the defendant, which the
                      defendant intends to introduce as evidence in chief at the trial or which
                      were prepared by a witness whom the defendant intends to call at the trial
                      when the results or reports relate to that witness= testimony.

       B.      ALIBI EVIDENCE

               1.     Within 28 days from the date of this Order, defendant shall serve upon
                      the government a written notice of the defendant=s intention to offer a
                      defense of alibi. Such notice shall state the specific place of places at
                      which the defendant claims to have been at the time of the alleged offense
                      and the names and addresses of the witnesses upon whom the defendant
                      intends to rely to establish such alibi.

               2.     Within 14 days thereafter, but in no event less than 14 days before
                      trial, the government shall serve upon the defendant a written notice
                      stating the names and addresses of the witnesses upon whom the

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           government intends to rely to establish the defendant=s presence at the
           scene of the alleged offense and any other witnesses to be relied on to
           rebut testimony of any of the defendant=s alibi witnesses.

     3.    If prior to or during trial, a party learns of an additional witness whose
           identity, if known, should have been included in the information furnished
           above, the party shall promptly notify the other party of the existence and
           identity of such additional witness.

                      V. EXPERT TESTIMONY

A.   RULE 16(a)(1)(E) EXPERTS

     1.    No later than seven days prior to the pretrial conference, the
           government shall disclose to the defendant a written summary of
           testimony that the Government intends to use under Rules 702, 703 or 705
           of the Federal Rules of Evidence during its case-in-chief at trial. The
           written summary shall identify the witnesses, describe the witnesses=
           opinions, the bases and the reasons for the opinions, and the witnesses=
           qualifications.

     2.    By the pretrial conference, defendant shall disclose to the government a
           written summary of testimony that the defendant intends to use under
           Rules 702, 703 or 705 of the Federal Rules of Evidence as evidence at
           trial. The written summary shall identify the witnesses, describe the
           witnesses= opinions, the bases and the reasons for the opinions, and the
           witnesses= qualifications.

B.   MENTAL HEALTH EXPERTS/EVIDENCE

     1.    On or before February 11, 2019¸ the parties must file any motion
           seeking to determine the defendant=s mental competency pursuant to 18
           U.S.C. ' 4241.

     2.    On or before February 11, 2019, the defendant shall file a notice in
           writing which complies with the requirements of Rule 12.2 of the Federal
           Rules of Criminal Procedure stating:

           a.     Whether the defendant intends to rely upon the defense of insanity
                  at the time of the alleged offense; and
           b.     Whether the defendant intends to introduce expert testimony
                  relating to a mental disease or defect or any other mental condition
                  of the defendant bearing upon the issue of guilt.


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       3.      If the defendant gives notice under Rule 12.2(b) of an intent to present
               expert testimony on the defendant=s mental condition, March 29, 2019,
               the defendant shall identify the experts and provide a summary of the
               witnesses= opinions, the bases and reasons for those opinions and the
               witnesses= qualifications.

       4.      If the defendant complies with the requirements of V.B.2. and V.B.3., on
               or before May 6, 2019, the government shall disclose to the defendant a
               written summary of testimony the government intends to use under Rules
               702, 703, or 705 as evidence at trial on the issue of the defendant=s mental
               condition. The summary shall describe the witnesses= opinions, the bases
               and the reasons for those opinions, and the witnesses= qualifications.

            VI. EVIDENCE FAVORABLE TO THE DEFENSE

A.     BRADY EVIDENCE

       Within 14 days from the date of this Order, the Government is directed to
       disclose all evidence favorable to the defendant within the meaning of Brady v.
       Maryland.

B.     GIGLIO IMPEACHMENT EVIDENCE

       No later than the Friday before the pretrial conference, the Government is
       directed to disclose all evidence which may tend to adversely affect the credibility
       of any person called as a witness by the government pursuant to Giglio v. United
       States and United States v. Agurs, including the arrest and/or conviction record of
       each government witness, any offers of immunity or lenience, whether made
       directly or indirectly, to any government witness in exchange for testimony and
       the amount of money or other remuneration given to any witness.

PLEASE NOTE: The parties are to be prepared to disclose to the Court at the
final pretrial conference in this case the method used to determine whether any
favorable evidence exists in the government=s investigative file. The government
is advised that if any portion of the government=s investigative file or that of any
investigating agency is not made available to the defense for inspection, the Court
will expect that trial counsel for the government or an attorney under trial
counsel=s immediate supervision who is familiar with the Brady/Giglio doctrine
will have reviewed the applicable files for purposes of ascertaining whether
evidence favorable to the defense is contained in the file. The Court considers
such evidence to include evidence favorable to the accused which may have a
bearing on guilt or punishment and evidence which adversely affects the
credibility of any important government witness.


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C.   ENTRAPMENT EVIDENCE

     Within 14 days from the date of this Order, the government is directed to
     provide discovery, inspection, and copying or photographing of any information
     suggesting entrapment of the defendant which is within the possession, custody or
     control of the government or the existence of which is known or by the exercise
     of due diligence may become known to the government attorney.




D.   WITNESS INDUCEMENTS

     No later than the Friday before the pretrial conference, the government is
     directed to provide written disclosure of: (a) the names(s) and address(es) of the
     witness(es) to whom the government has made a promise; (b) all promises or
     inducements made to any witness(es); (c) all agreements entered into with any
     witness(es); and (d) the amount of money or other remuneration given to any
     witness(es).

E.   INFORMANTS

     Unless the government has made a claim of privilege as to an informant, no later
     than the Friday before the pretrial conference, the government is directed to
     provide: (a) the name(s) and address(es) of the informant(s); (b) all promises or
     inducements to the informant(s); (c) all agreements entered into with the
     informant(s); (d) the amount of money or other remuneration given to the
     informant(s); (e) identification of the informant=s prior testimony; (f) evidence of
     psychiatric treatment; (g) evidence of the informant=s narcotic habit; and (h) the
     name, address and phone number for the lawyer(s) for the informant(s) if
     represented by counsel. If an informant objects to the disclosure of his or her
     address, the government shall produce the informant to defense counsel for a
     determination of whether or not the informant will consent to an interview.

                        VII. PRETRIAL FILINGS

A.   PRETRIAL MOTIONS

     On or before March 11, 2019, the parties shall file any relevant pretrial motions.
     Any suggestions in opposition shall be filed within 14 days of the motion unless
     otherwise ordered by the Court. For defendants who are represented by
     counsel, the Court will only accept pretrial filings made by counsel. Pro se
     filings will not be accepted for defendants who are represented by counsel.


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B.   RELEVANT OFFENSE CONDUCT

     Within 14 days of trial or a change of plea hearing, the government is directed
     to disclose all information in its possession on which it will rely to establish
     Arelevant offense conduct@ or to establish an upward departure under the Federal
     Sentencing Guidelines.

C.   RULE 404(b) EVIDENCE

     The government is directed to provide written notice of all prior and subsequent
     acts and convictions intended to prove knowledge, intent or other elements
     identified in Rule 404(b) of the Federal Rules of Evidence no later than the
     Friday before the pretrial conference.

D.   WITNESS LISTS

     The government and the defendant are directed to supply in writing witness lists
     which shall include the name and address of each witness whom counsel intends
     to call in its case-in-chief, together with any record of prior felony convictions for
     such witness, no later than the Friday before the pretrial conference. If a
     new witness is discovered after counsel prepares its witness list, either prior to
     trial or during trial, counsel shall promptly notify opposing defense and provide
     the discovery identified above.

E.   EXHIBIT LISTS

     The government and the defendant are directed to supply in writing exhibit lists
     which shall include a description of each exhibit, pre-marked for identification,
     that counsel intends to offer in its case-in-chief no later than the Friday before
     the pretrial conference.

F.   MOTIONS IN LIMINE

     No later than the Friday prior to the pretrial conference, the parties shall file
     any motions in limine seeking to exclude evidence from trial. (Once the motion
     is filed, copies shall be faxed to opposing counsel and the Court.) Any
     suggestions in opposition to the motions in limine shall be filed within seven
     days after the motion is filed.

G.   STIPULATIONS

     Any proposed stipulations shall be provided in writing to opposing counsel and
     the Court no later than the Friday before the pretrial conference.


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        H.      STATEMENTS PRESENTING BRUTON ISSUES

                There are co-defendants and thus Bruton issues.

                                 VIII. WITNESS ADDRESSES

        In lieu of providing the address of any witness required by this Order, counsel for the

government or defendant may produce the witness for interview by opposing counsel.


                            IX. CERTIFICATE OF COMPLIANCE

        Prior to the pretrial conference, counsel for the government and for each defendant will

sign and file with the Court a certificate indicating that counsel has produced all discovery in

accordance with the deadlines established in the Scheduling Order and has timely complied with

all pretrial filing deadlines up to the date of the pretrial conference.

        IT IS SO ORDERED.


                                                       /s/ JOHN T. MAUGHMER
                                                           JOHN T. MAUGHMER
                                                        United States Magistrate Judge

Kansas City, Missouri




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